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2    P. O. Box 5622
     Fresno, California 93755-5622
3    559/248-9833

4    Attorney for defendant Shirley Davidson

5

6

7                 IN THE UNITED STATES DISTRICT COURT IN AND FOR

8                          THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,            )          Case No. 1:12-cr-00168-AWI-BAM
                                          )
11                     Plaintiff,         )          STIPULATED PROTECTIVE ORDER
     v.                                   )          REGARDING DEFENDANT SHIRLEY
12                                        )          DAVIDSON’S MOTION FOR §4241
     SHIRLEY DAVIDSON,                    )          COMPETENCY DETERMINATION;
13                                        )          ORDER
                        Defendant.        )
14   ___________________________________ )

15
            The parties by and through their respective counsel, hereby stipulate to the
16
     following protective order regarding the confidential contents of defendant Shirley
17
     Davidson’s Notice of Motion And Motion For A Hearing To Determine Defendant
18
     Shirley Davidson’s Competency To Stand Trial, and the attached Exhibits 1-5.
19
            1)     Access to Davidson’s Notice of Motion And Motion For A Hearing To
20
     Determine Defendant Shirley Davidson’s Competency To Stand Trial, and the attached
21
     Exhibits 1-5, shall be limited to:
22

23
     Stipulated Protective Order As To Defendant Shirley Davidson’s Motion For §4241 Competency
24
     Determination, Order; US v. Davidson, Case No. 1:12-cr-00168 AWI/BAM               1
     Case 1:12-cr-00168-DAD-BAM Document 38 Filed 08/15/13 Page 2 of 3


1                  a)     the Court and its staff,

2                  b)     counsel of record, their legal assistants and consultants; and,

3                  c)     any psychologists, psychiatrists, or other health care professionals

4    appointed by the Court or retained by counsel for expert consultation or testimony in

5    the course of the judicial hearings on defendant Shirley Davidson’s motion for a

6    competency determination pursuant to 18 U.S.C. §4241, et seq.

7           2)     The parties are prohibited from using or disclosing the contents of

8    Davidson’s Notice of Motion And Motion For A Hearing To Determine Defendant

9    Shirley Davidson’s Competency To Stand Trial, and the attached Exhibits 1-5, for any

10   purpose other than the 18 U.S.C. §4241, et seq., proceedings for which the information

11   was disclosed.

12          3)     Counsel and their legal assistants and, consultants shall not make copies

13   of the confidential material except as necessary for purposes of this litigation.

14          4)     Each person to whom disclosure of the confidential material is made shall

15   prior to the time of disclosure be provided by the person furnishing such materials a

16   copy of this stipulation and protective order, and shall agree in writing that he or she

17   has read the stipulation, and protective order, and understands its provisions and

18   conditions. The writing shall include the express consent of the person to whom the

19   disclosure is made to be subject to the jurisdiction of this Court with respect to any

20   proceeding related to enforcement of this stipulated protective order including without

21   limitation any proceeding for contempt.

22

23
     Stipulated Protective Order As To Defendant Shirley Davidson’s Motion For §4241 Competency
24
     Determination, Order; US v. Davidson, Case No. 1:12-cr-00168 AWI/BAM               2
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1                            5)    During the course of these proceedings, confidential and/or privileged

2    material filed with the Court by any party shall be filed and maintained under seal.

3                            IT IS SO STIPULATED:

4

5    Dated:                        August 13, 2013                  BENJAMIN B. WAGNER
                                                                    United States Attorney
6
                                                                    By:/s/ Grant B. Rabenn
7                                                                   Assistant United States Attorney
                                                                    Attorneys for Plaintiff
8                                                                   UNITED STATES OF AMERICA

9
     Dated:                        August 13, 2013                  /s/ Carolyn D. Phillips
10
                                                                    CAROLYN D. PHILLIPS
11                                                                  Attorney for Defendant
                                                                    SHIRLEY KAY DAVIDSON
12

13
     Dated:                        August 13, 2013                  /s/ James R. Homola
14
                                                                    JAMES R. HOMOLA
15                                                                  Attorney for Defendant
                                                                    JAMES G. DAVIDSON
16

17

18                         IT IS SO ORDERED.

19                                                               Dated:    August 15, 2013             /s/ Lawrence
     J. O’Neill
20   DEAC_Signature-END:
                                                                    UNITED STATES DISTRICT JUDGE

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23
     Stipulated Protective Order As To Defendant Shirley Davidson’s Motion For §4241 Competency
24
     Determination, Order; US v. Davidson, Case No. 1:12-cr-00168 AWI/BAM               3
